                                                                       Case 2:17-bk-19548-NB               Doc 295 Filed 05/03/18 Entered 05/03/18 16:41:25                             Desc
                                                                                                             Main Document Page 1 of 2


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                                                                                                                                                             CLERK U.S. BANKRUPTCY COURT
                                                                                                                                                             Central District of California
                                                                       6   Attorneys for Richard M. Pachulski, Chapter 11 Trustee                            BY francis DEPUTY CLERK


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                                                                       8                                     UNITED STATES BANKRUPTCY COURT

                                                                       9                                      CENTRAL DISTRICT OF CALIFORNIA

                                                                      10                                               LOS ANGELES DIVISION

                                                                      11   In re:                                                         Case No. 2:17-bk-19548-NB
P ACHULSKI S TANG Z IEHL & J O NES LLP




                                                                      12   LAYFIELD & BARRETT, APC,                                       Chapter 11
                                         LOS ANGELES, C ALIFO R NIA




                                                                      13                                         Debtor.                  ORDER GRANTING MOTION TO
                                            ATTOR NE YS A T L AW




                                                                                                                                          APPROVE STIPULATION RE:
                                                                      14                                                                  TRUSTEE’S MOTION FOR ORDER
                                                                                                                                          APPROVING SURCHARGE OF SECURED
                                                                      15                                                                  CREDITOR’S COLLATERAL
                                                                      16                                                                  [Relates to Docket Nos. 239, 263, 271, 281,
                                                                                                                                          289]
                                                                      17
                                                                                                                                          Date:      May 1, 2018
                                                                      18                                                                  Time:      2:00 p.m.
                                                                                                                                          Place:     United States Bankruptcy Court
                                                                      19                                                                             Edward R. Roybal Federal Building
                                                                                                                                                     255 E. Temple Street, Ctrm. 1545
                                                                      20                                                                             Los Angeles, California 90012
                                                                                                                                          Judge:     Honorable Neil W. Bason
                                                                      21

                                                                      22              The Court having considered the Motion to Approve Stipulation re: Trustee’s Motion for
                                                                      23   Order Approving Surcharge of Secured Creditor’s Collateral [Docket No. 289] (the “Motion”),1
                                                                      24   regarding the Stipulation re: Trustee’s Motion for Order Approving Surcharge of Secured
                                                                      25   Creditor’s Collateral [Docket No. 281] (the “Stipulation”) disposing of the Trustee’s Motion for
                                                                      26   Order Approving Surcharge of Secured Creditor’s Collateral [Docket No. 239], and good cause
                                                                      27   appearing therefor,
                                                                      28
                                                                           1
                                                                               Capitalized terms not otherwise defined herein shall have the meanings ascribed to them in the Motion.

                                                                           DOCS_LA:314014.1 51414/001
                                                                       Case 2:17-bk-19548-NB            Doc 295 Filed 05/03/18 Entered 05/03/18 16:41:25               Desc
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                                                                       1           IT IS HEREBY ORDERED that

                                                                       2           1.       The Motion is GRANTED.

                                                                       3           2.       The Stipulation is APPROVED.

                                                                       4           3.       The parties are authorized to take any and all actions reasonably necessary to

                                                                       5   effectuate the Stipulation.

                                                                       6           4.       The Court shall retain jurisdiction to hear and determine all matters arising from or

                                                                       7   relating to this Order.

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P ACHULSKI S TANG Z IEHL & J O NES LLP




                                                                      12
                                         LOS ANGELES, C ALIFO R NIA




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                                            ATTOR NE YS A T L AW




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                                                                             Date: May 3, 2018
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